Case 2:12-md-02323-AB Document 9547-9 Filed 01/03/18 Page 1 of 14

EXHIBIT I

How One Lawyer’s Crusade Could Change Football Forever
How One Lawyer’s Crusade Cou wd Change Football Forever - The New York Tim Page | of 13
Case 2:12-md-02323- Document 9547-9 Filed 01/03/18. Page 2 of 14

The New York Cimes Magazine _ https://nyti.ms/tE7IvyY

Magazine

How One Lawyer’s Crusade Could Change
Football Forever

By MICHAEL SOKOLOVE NOV. 6, 2014

There are 1.27 million lawyers in the United States, one for about every 300
Americans — about 400,000 more of them than there are doctors. Their work is
rarely glamorous, and especially for those just starting out in the profession, it can
be grinding and repetitive. Jason Luckasevic, hired out of law school in 2000 by a
firm in Pittsburgh, passed the bar exam on his first try and was quickly sworn in to
practice. The ceremony, such as it was, took place on a Thursday in a clerk’s office,
rather than in a courtroom in front of family and friends, because his bosses needed
him to get started. The following Monday morning, he drove to Johnstown, about 90
minutes away, where he spent the day taking depositions from former employees of
an enormous steel plant that had exposed them to asbestos. Late that afternoon, he
climbed back into his Honda Civic and headed home. He repeated this routine for
the next six months, five days a week, racking up some 400 depositions and about
20,000 miles on the road.

Luckasevic harbored no grandiose visions for himself — no ambition to clerk for
a Supreme Court justice, no thought of blazing new legal ground. His father was a
machinist, his mother a teller at a credit union, his godfather the president of a
United Steelworkers local. “Working lawyers for working people” was the motto of
Goldberg, Persky & White, the firm he joined, and it suited him just fine. “We were
one of the early firms into the asbestos world,” Luckasevic explained to me over
breakfast not long ago. “It was difficult, but it was also great. My attitude was, I’m
going to work hard, do good at this and be successful. Hopefully, I'll be like some of

https://www.nytimes.com/2014/11/09/magazine/how-one-lawyers-crusade-could-change-football-f.... 1/3/2018
How One Lawyer’s Crusade Could Change Football Forever - The New York Times Page 2 of 13
Case 2:12-md-02323-AB Document 9547-9 Filed 01/03/18 Page 3 of 14

the established guys in the firm and start making some nice money and have a nice

vehicle.”

As Luckasevic was getting started on his legal career, his older brother, Todd,
was in his medical residency at the Allegheny County medical-examiner’s office,
working under a forensic pathologist named Bennet Omalu. The Nigerian-born
doctor spent some Thanksgivings with the extended Luckasevic clan. He and the
Luckasevic brothers sometimes went out for beers together or to hockey games.
Luckasevic found Omalu to be good company, “an easy guy to be around, even
though you could tell he was brilliant or even a genius.”

In 2002, Omalu performed an autopsy on Mike Webster, a former Pittsburgh
Steelers offensive lineman and a member of pro football’s Hall of Fame. Webster was
just 50 when he died, and he spent the last years of his life suffering from dementia,
at times living in his pickup truck. When Omalu studied Webster’s brain in his
laboratory, he noted a degeneration of tissue and other markers of decline usually
present only in people decades older or sometimes in boxers suffering from “punch
drunk” syndrome. Over the next few years, he autopsied five other former N.F.L.
players, none of them old, and saw the same patterns: tangled brain tissue and the

accumulation of tau protein, a characteristic of Alzheimer’s disease.

Omalu published his findings on Webster in 2005 in the journal Neurosurgery.
He identified what he was seeing as chronic traumatic encephalopathy, or C.T.E.,
and suggested that football caused irreversible brain damage. The N.F.L.’s response
was to attack him, and N.F.L.-affiliated doctors demanded, without success, that
Neurosurgery retract the article. Later his conclusions were called “preposterous”

and a “misinterpretation of the facts.”

Luckasevic by this time had begun to take on other types of cases: auto accidents,
slip-and-falls — the bread and butter of the plaintiffs’ bar. He did not seem to be on
the verge of initiating a landmark case. At first, his response to the public
controversy picking up around Omalu, whom he occasionally employed as an expert
witness, was just to step up and defend his friend. He remembers thinking: Why
would Bennet make this stuff up. I mean, why would he? It’s just not done. He
worried that Omalu would pay a professional price. “It looked to me like Bennet had

https://www.nytimes.com/2014/11/09/magazine/how-one-lawyers-crusade-could-change-football-f.... 1/3/2018
How One Lawygr's Crusade Could Change e Football Foreyer - The New York T Page 3 of 13

ase 2:12-md-02323- Document 9547-9 Misa’ Stloslts® Page 4 of 14

raised his hand and said there’s a problem we need to be aware of, and he got
savaged for it.”

One day as they sat together at his law office, Luckasevic told me, he asked
Omalu how he was going to fight back and defend his reputation. “Bennet’s response

299

was something like: “You're a good lawyer. You'll figure it out.

Luckasevic began to think about whether he could buttress Omalu’s lab
findings. In 2006, he had his first meetings with retired N.F.L. players, who
introduced him to other players. The damage that Omalu observed when he looked
at brain tissue under a microscope, Luckasevic saw in human terms. Many of the
men he met suffered from headaches, memory loss, depression and sleeplessness.
He went down a checklist when one of them came into his office the first time. Was
the former player employed? On disability? Could he follow the conversation, or did
his wife have to fill in details and answers to questions? The worst off among them

seemed many years older than their chronological age.

To build a case against the N.F.L., Luckasevic knew that he first had to win the
trust of the former players. They came from a distinct subculture, men who had built
their lives and identities playing a violent game. They were deeply connected to one
another and still invested in football — even as they came to believe they were
suffering from its effects. “These guys, they have to feel they have a friendship with
you before there’s a business relationship,” Luckasevic said. “They have to have your
cellphone number. They'll keep calling and calling and calling until they get you, and
you'll have a conversation, and then they'll call you back an hour later and ask the

same questions and have the same conversation. It’s really horrific.”

In 2011, Luckasevic filed suit against the N.F.L., at first on behalf of 75 players.
Among them were Mark Duper, a three-time Pro Bowl selection at wide receiver for
the Miami Dolphins, and Fred McNeil, a linebacker who played a dozen seasons for
the Minnesota Vikings. (McNeil became a lawyer after he retired from football, but
dementia has forced him to leave the profession; an article published on the Vikings’
website said that he cannot remember the scores of the Super Bowls he competed
in.) Luckasevic’s civil action, later joined by dozens of lawyers around the nation who

brought thousands of their own clients, is now moving toward final settlement,

https://www.nytimes.com/2014/11/09/magazine/how-one-lawyers-crusade-could-change-football-f... 1/3/2018
How One Lawyer's Crusade Copied Changs Football ore yeild? Nasa SH OSHTS® Page 5 of 14 28° 483

perhaps as soon as later this month. In September, the N.F.L. filed documents in
federal court, prepared by actuaries, estimating that 28 percent of the retired players
eligible for payments under the settlement will develop long-term cognitive
deficiencies, many of them at “notably younger ages” than the general population. In
other words, they will suffer from early-onset dementia. With that, the connection

between football and brain damage was validated. There was no more denying it.

Some of Luckasevic’s new N.F.L. friends have sent him signed pictures of
themselves — action shots from their N.F.L. careers — because that’s what former
pro athletes do. The photos hang on his office wall. In a couple of them, the players
are bent at the knees in an athletic crouch, with their helmets pointed straight at
opposing players, just as they were taught since they first put pads on.

The N.F.L. has been shadowed by bad news this year. None of it seemed to be
directly related to the issue of head injuries, but everything about football now looks
a little different knowing what we know about the game’s impact on players’ brains.
Two prominent N.F.L. players faced criminal charges for allegations of physical
abuse of loved ones: Ray Rice, whose one-punch knockout of his fiancée inside a
casino elevator in Atlantic City was seen by millions on a leaked security video; and
Adrian Peterson, who was charged with beating his 4-year-old son with a “switch,” or
tree branch stripped of its leaves.

Other recent events below the professional level have added to football’s season
of troubles and to the incipient impression that there might be something defective
at the core of the sport. The college game’s most prominent player, the Florida State
quarterback Jameis Winston, has been embroiled in multiple scandals — the most
serious a rape allegation that may have been incompletely investigated. Seven high-
school players in Sayreville, N.J., were criminally charged with hazing, and their
team, a perennial state champion, was disbanded for the season. Over the course of a
week in September and October, three high-school football players died after
collapsing on the field.

For decades, the N.F.L. has been seemingly immune to bad publicity, swings in
the wider economy or entertainment trends. Every addition to the increasing

number of ways that Americans amuse themselves — D.V.R.s, streaming content on

https://www.nytimes.com/2014/11/09/magazine/how-one-lawyers-crusade-could-change-football-f.... 1/3/2018
How One Lawyers Cousasie, Cons Changs Fpothall Forever 7ige New MOH FESS page 6 of 14°28° > of 13

computers and mobile devices and perhaps soon our watches — benefits the lords of
professional football. Their game only becomes more valuable as the number of
people watching TV programs in real time shrinks. The sole non-N.F.L. event on the
2013 list of the Top 10 most-watched television programs was the Academy Awards
broadcast, at No. 7, between two postseason playoff games. The Oscars had 40
million viewers, the Super Bowl 108 million. N.F.L. revenue last year was about $9
billion, but the stated goal of its commissioner, Roger Goodell, in 2010 was to
increase that to $25 billion by 2027.

It seemed reasonable, as the season began under a dark cloud, to ask: Could this
be the moment when things turn sour for the N.F.L., the beginning of the end of its
long dominance? Boxing, once hugely popular, has been pushed to the margins of
American culture. Many commentators have asked whether that could happen to
football. And yet, past the halfway point of the season, the game is as popular as
ever. Ratings are up. The N.F.L.’s associated spinoffs, like the sale of licensed
merchandise and participation in the fantasy-football phenomenon, continue to
grow. The Buffalo Bills, one of the league’s least valuable franchises, recently
changed hands for more than $1 billion. The Dallas Cowboys are worth an estimated
$3.2 billion.

But what if the template for football’s future is not the fate of boxing but rather
that of the tobacco industry? The parallels, of course, are not perfect. But tobacco,
like football, was once deeply embedded in the American economy, culture and
mythology. Its history, in fact, is inseparable from that of the nation itself. The first
crop was planted by an early settler in Jamestown, John Rolfe (also known as the
husband of Pocahontas), and it quickly became Virginia’s largest export and a
primary impetus for the growth of slavery through much of the South. Cigarette
smoking surged at the beginning of the 20th century, and into the mid-1970s, about
AO percent of American adults were smokers, and they could smoke everywhere they
wanted — in restaurants, on buses and airplanes, in workplaces and college
classrooms, in their cars with the windows up and their children in the passenger

seats.

The fight against tobacco’s use has been long and has unfolded in stages,
beginning with public-health warnings. A Johns Hopkins researcher reported in

https://www.nytimes.com/2014/11/09/magazine/how-one-lawyers-crusade-could-change-football-f.... 1/3/2018
How One Lawyer's Crusade Conic Chanes Fpotball ore yer 7 ige Neay HDS TS’ Page 7 of 14° 28° 6! 13

1938 that smokers did not live as long as nonsmokers. A half-dozen years later, the
American Society for the Control of Cancer warned that smoking might pose dangers
but said “no definite evidence exists” that it caused lung cancer. In 1964, the U.S.
surgeon general, Luther L. Terry, issued a landmark report. It linked smoking and
cancer and set in motion decades of measures that deeply cut into smoking rates and
tobacco’s profits and influence, beginning, first, with Congress’s passing measures
that required health warnings on cigarette packages and later banning cigarette
advertising on radio and TV. What came next were the lawyers, as well as more
regulations and restrictions. After routinely defeating lawsuits brought by smokers
(and families of deceased smokers), tobacco companies became more vulnerable. In
1998, they agreed to pay $206 billion to settle a lawsuit brought by the attorneys
general of 46 states, who were seeking compensation for costs to the public related

to smoking-related illnesses.

It’s worth noting the year that the first tobacco manufacturer acknowledged that
cigarettes cause cancer: 1997. By then smoking was already in decline. In most cases
now, people can no longer smoke inside their workplaces; inside public buildings
and sometimes not even near the entrances of those buildings; in public parks or on
beaches; and even not in some casinos, which were just about the last refuge for
smokers. Many people who might still want to smoke can’t afford it: High taxes have
driven the price of a pack of cigarettes above $10 in some states and above $14 in
New York. About 18 percent of American adults now smoke — fewer than one in five.
Tobacco’s shift from integral part of American life to its fringes took about half a
century.

Luckasevic has a round face, gentle features and big blue eyes. His tone of
voice is generally soft, his manner that of a choirboy with an iron will. He was a high-
school golfer who was recruited to play in college, though he decided to concentrate
on academics. When he plays now with friends and places wagers, as many golfers
do, he likes to multiply the stakes on the final holes. “I think I play better when I do
that,” he told me. He met his wife, Kelly, at Washington & Jefferson College (also
Goodell’s alma mater), and they overlapped as well at Duquesne’s School of Law. She
told me that her husband was motivated to pursue the concussions case, in large
part, by anger. “What Bennet told him made him irate,” she said. “He didn’t
understand why the N.F.L. wasn’t more aggressive about protecting the players.”

https://www.nytimes.com/2014/11/09/magazine/how-one-lawyers-crusade-could-change-football-f.... 1/3/2018
2-md-02323-AB Document 9547-9 Filed 01/03/18 Page 8 of 14

How One Lawyer 8 Esiyas C uld Change Football Forever - The New York Times Page 7 of 13

For lawyers who work on contingency fees, each case is a financial investment.
(As the ads say, they get paid only if you do.) Luckasevic had just turned 30 when he
picked up on Omalu’s research and began reaching out to retired N.F.L. players. At
the time he filed suit against the N.F.L. in 2011, he had just been made partner. It
was an audacious act. His firm’s base of business was in Western Pennsylvania,
where football is sacrosanct and the Pittsburgh Steelers are beloved. From a purely
legal standpoint, the case presented substantial challenges, chief among them the
possibility that the collective-bargaining agreement between the league and its
players might prevent the complaints from ever reaching a courtroom. All the hours
he invested could have ended up being wasted. “There’s a risk-reward analysis you
have to do,” Peter T. Paladino, the president at Goldberg, Persky & White, told me
when I asked him about how Luckasevic’s idea was received there. “Do we want to
represent these folks? Yes, we do. But is it going to bankrupt the firm? Are we going
to put ourselves in such a hole that we can’t represent the interests of our other
clients?”

His firm’s elders did not want to challenge the N.F.L., but Luckasevic could not
abide the thought that it was too big to take on. With his firm’s O.K., he teamed up
with prominent plaintiffs’ lawyers, one in Miami and another in Los Angeles, who
functioned as mentors. They signed up their own players. Luckasevic’s own roster of
clients grew to 535.

But the case made his wife anxious. The couple had their first daughter in 2007
and a second the following year, and she left her job to be at home with them. “I’m
not a risk taker like he is,” she said. “I said, ‘What’s this going to do to your career?’ ”

As lawyers from around the country signed up former players as clients,
Luckasevic had to struggle to keep from being closed out by more established
lawyers from bigger firms. “I’ve had arguments with all those guys,” he said,
referring to those who brought the subsequent cases. “I’ve said, ‘If I didn’t file that
first lawsuit, you would never have done it.’ They say, ‘Oh, yeah, we would have.’...
Nobody wanted to. Nobody wants to be the first penguin to jump in the water and
get eaten.”

https://www.nytimes.com/2014/1 1/09/magazine/how-one-lawyers-crusade-could-change-football-f.... 1/3/2018
HOW ne aS Oa eS FOTN Eee G7 Oe NES SHORES. Page 9 of 14 88° 8 FB

When I spoke with Christopher Seeger, a Manhattan lawyer who is one of the
two lead negotiators in settlement talks with the N.F.L., he struck a diplomatic tone
when I asked about Luckasevic. “Being the first to file is incredibly important,” he
said. “He took a risk.” Seeger said there had been other firms considering suing the
league, including his own, which began looking into it in 2008.

I first met Luckasevic last February at a sports bar in North Jersey, where one of
his clients, the former New York Giants defensive end Leonard Marshall, was
hosting a pre-Super Bowl party. It was an odd sort of event, one designed to both
celebrate the coming game and raise money and awareness for research into
football-related brain damage. It brought into focus what had been one of
Luckasevic’s foremost challenges: overcoming his clients’ feelings that they were
almost suing themselves. They had played the game since boyhood and were caught
up in its mythology, just like the fans. “The reason I didn’t file earlier is that a lot of
guys just couldn’t do it,” he said. “They wanted to. They knew they needed to. But
they couldn’t.”

At the party, Marshall took a seat beside me at one point. He is a huge human
being with a face the size of a dinner plate. He had expected many of his Giants
teammates from two Super Bowl championship teams to attend, along with other
celebrities, but almost none of them showed. Someone said Chaka Khan had passed
through, but I never saw her. Marshall was clearly disappointed at the turnout, and
he told me that his day had not begun well, either. “I didn’t really want to get out of
bed,” he said. “I didn’t feel good, mentally.”

The essential argument of the players’ claims is that a compact was broken:
They understood that they were giving their bodies over to football, but they did not
realize they were also putting their intellectual and emotional well-being at risk.
Marshall said he had experienced headaches and depression since the end of his
career. “When you get into football, you think about hurting your knees, your back,

even your neck. But your brain, man, no. We didn’t think about that. I didn’t sign up
for that.”

Later I talked to another of Luckasevic’s clients, Joe DeLamielleure, who played
for the Buffalo Bills and Cleveland Browns in the 1970s and 1980s and was voted

https://www.nytimes.com/201 4/1 1/09/magazine/how-one-lawyers-crusade-could-change-football-f.... 1/3/2018
How One Lawyers Crusade Sud Sage Ista dat OEA7 PAY MGB Page 10 of F489 of 1

into pro football’s Hall of Fame in 2003. Among his symptoms, he said, are
headaches, bursts of anger and 68 percent hearing loss in his left ear, which he
attributes to years of right-handed defensive linemen slapping him in the head. “I
lived football, I loved football,” DeLamielleure said. “I can tell you the starting lineup
from the Detroit Lions from 1961. I can tell you their numbers. I can tell you the
colleges they attended. That’s how much I loved it, but knowing what I know now, I
wish I wouldn’t have played. ... I look at how I am now and I think, Is this a
temporary thing or am I going to end up like Mike Webster?”

The federal judge in the concussions suit, Anita B. Brody, eased the sides into
talks without ever ruling on a key legal issue: whether their collective bargaining
agreement with the league prohibited players from suing for damages. If she had
ruled for the players, they might have been in a position to bargain for a better
settlement or perhaps to win an even bigger award from a jury. But a ruling for the
league would have forced the players into mediation or arbitration and most likely
only modest payouts. She may approve the settlement as soon as Nov. 19, when a
hearing is scheduled in Philadelphia, and retirees who qualify could start seeing
money within about 90 days, before this season concludes.

Luckasevic’s initial filing charged that the N.F.L. was involved in “a scheme of
fraud and deceit” by failing to warn players of the dangers they faced and by
publishing research of its own that falsely minimized risks. Under the terms of the
proposed settlement, the N.F.L. will compensate retired players (or their heirs)
based on the severity of their impairment, sorted into such categories as “early

3 66 29

dementia,” “moderate dementia,” “Alzheimer’s disease,” “Parkinson’s disease” and
“death with C.T.E.” The maximum payout, for those given diagnoses of Lou Gehrig’s

disease, or A.L.S., is $5 million.

The proposed settlement has been almost universally perceived as a victory
for the league. With it, the N.F.L. bought itself — cheaply, considering its $9 billion
in annual revenue — a degree of short-term business certainty. It initially agreed to
set aside $765 million for brain-injured players or, in the case of those who died,
their heirs. After Brody, who presides over the suit, said the fund might not cover
payments to all those who qualified, the league agreed to a deal with no upper limit
on its liability. But because of how the settlement delineates which afflictions qualify

https://www.nytimes.com/2014/11/09/magazine/how-one-lawyers-crusade-could-change-football-f.... 1/3/2018
How One Lawyer's. s Cru Isa e Could Chappe Football Forever - The New Yo

Page 10 of 13
ase 2:12-md-02323-A

rk T
Document 9547-9 Filed 01 alt 18 “Page 11 of 14

for financial compensation and caps the awards on what can go out to individuals,
the N.F.L.'s total liability, paid out over decades, may not rise much beyond $1
billion. That’s nothing for an entity as rich as the N.F.L. Goodell, the league’s
commissioner, made $44 million last year — or nearly nine times the maximum
payment for the most severely brain-damaged N.F.L. retiree.

Luckasevic does not hide the fact that he believes his case was hijacked by more
established lawyers who headed the committees that negotiated the deal. “I give
them credit,” he said. “I think they did what they think was right. But it’s not how I
would have done things.” He says the settlement focuses almost solely on cognitive
issues. “It’s a weakness of the deal, because what happens to these guys’ brains also
causes changes in emotion and behavior. Mood swings, depressions. Suicidal
thoughts. It’s not just that you get in the car to get a loaf of bread and by the time you
pull out of the driveway, you can’t remember where youre going.”

Given the offer that was on the table, he would have fought on to trial if
necessary. But the settlement does get money into the hands of some players who
need it desperately, perhaps soon. It also sets aside $112 million for lawyers, who, if
the case had gone to trial, might have waited years to be paid.

Players still have the choice of “opting out” — rejecting the terms of the deal and
suing the league as individuals — and at least a couple of Luckasevic’s clients will be
among them. The N.F.L. will have to defend or make individual settlements with
plaintiffs who opt out, including some notable ones, like the family of Junior Seau,
one of the best linebackers in N.F.L. history, who at age 43 died by self-inflicted
gunshot and whose autopsied brain showed the markers of C.T.E. (Of the 79 brains
of deceased N.F.L. players that have been studied, 76 have shown what appears to be
football-related damage.) There is the possibility that Seau’s family or other
remaining plaintiffs could win a jury award well beyond the $5 million cap in the
settlement, into the tens of millions or even more, but they will have to wait for a

trial and then what is likely to be a drawn-out appeals process.

It is shortsighted, however, to assume that the N.F.L. and its owners will emerge
from the settlement unscathed or that the league’s economic and cultural status are
not under threat. Now that the N.F.L. has acknowledged that its product comes with

https://www.nytimes.com/2014/11/09/magazine/how-one-lawyers-crusade-could-change-football-f... 1/3/2018
How One Lawyer’s Crusade Could Change Football Forever - The New York Times Page 11 of 13

Case 2:12-md-02323-AB Document 9547-9 Filed 01/03/18 Page 12 of 14

dire health consequences, the sport, below the professional level, faces legal and
regulatory challenges that will most likely intensify in the coming years. California
recently passed a law barring state middle-school and high-school teams from
conducting full-contact practices for more than three hours a week during the
season; contact is not allowed at all in the off-season. California is always something
of a trendsetter when it comes to lawmaking, as it has been with auto emissions,
climate change and smoking bans. And as history has shown in the cases of smoking
and other hazardous practices, regulation tends to expand over time: If a state can
ban blocking and tackling in practice, what’s to prevent it from prohibiting those
activities in games by banning football entirely or turning it into flag football?
(Several other states, including Alabama and Texas, have similar restrictions on
football practices.)

It is not easy in most locales to sue school districts, and in many cases, the dollar
amounts on liability are limited. Nonetheless, schools are increasingly being sued
over football. Parents of a high-school junior in Tampa who suffered a concussion on
the sidelines after jumping for a pass have sued the Hillsborough County school
district; he drove himself home, but later was put in a medically induced coma for
nine days to reduce brain swelling. It’s possible that the very thing meant to protect
players — new protocols that define how they should be evaluated for a possible
brain injury, and how long they should be kept out of play if one is diagnosed or
suspected — will actually put school districts, administrators and coaches at more
legal risk. Now that they have, in a sense, been forewarned, what happens if they
don’t follow the protocols or don’t have certified athletic trainers on staff or coaches
smart enough to deal with possible concussions while they are also deciding on the
right third-down play? What’s more, insurers may in time deem the sport too risky.
Health insurers might treat it as a costly risk factor like smoking or a bad driving
record. As football becomes more and more regulated, many districts may
reasonably conclude that it’s more than they can handle.

C.T.E. and claims of football-induced brain damage are also likely to play a part
in criminal trials, perhaps even some high-profile ones involving N.F.L. stars. “I
can’t speculate on individual players,” David Franklin, a clinical neuropsychologist at
the University of California, Riverside, School of Medicine, said when I asked him
about this, “but you have to ask how the concussions issue changes the landscape

https://www.nytimes.com/2014/1 1/09/magazine/how-one-lawyers-crusade-could-change-football-f.... 1/3/2018
How One Lawyer's Crusa d e Ce ald, Change Football Forever - The New York Times

Document 9547-9 Filed 01/03/18 Page 13 of 14

from a law-enforcement perspective. I think it has to over time, because we now
know that players are suffering repeated insults to the parts of the brain that cause
changes in behavior.” Rates of smoking plunged and the industry declined because
tobacco use could not be made safe. The N.F.L. may be at a similar juncture now. It
has instituted rules changes to make its own games less violent and is funding and
promulgating supposedly less dangerous ways to play at the youth level. But there is
no assurance that any of it will make football any more healthful than low-tar
cigarettes made smoking. The burden will fall on the N.F.L. to litigate the concussion
issue in public and prove that its sport does not rob participants of their
consciousness.

It appears the league may already be losing the argument with a segment of the
nation’s parents. Between 2010 and 2012, Pop Warner, the nation’s largest youth-
football program, experienced a 10 percent drop in participation after years of steady
growth. It attributed the decline to concerns over concussions. There’s no reason to

think its numbers won’t continue to fall.

Luckasevic’s files include medical and neurological assessments of his
clients that would have been used if the case had moved toward a trial. He sent me
one of them, with the name redacted. The player had a lengthy N.F.L. career and
suffered blows to the head “too numerous to recall.” He had been knocked
unconscious in games but never hospitalized. Now in his late 50s, he suffers chronic
headaches, has stopped taking medications prescribed to alleviate them because they
were ineffective, can’t concentrate long enough to hold down a job or maintain
relationships and lives alone in the house he grew up in, where he passes his time
watching TV. He has developed a tremor in his left arm and leg and is having
difficulty swallowing.

The settlement class includes only retired players, not current ones. In an
interview with The New Yorker earlier this year, President Obama, an avid Chicago
Bears fan, said that if he had sons, he would not let them play football but he would
remain a fan of the sport. “At this point, there’s a little bit of caveat emptor,” he said
of the current N.F.L. players. “These guys, they know what they’re doing. They know
what they’re buying into. It is no longer a secret.” When I talked to Luckasevic about

Page 12 of 13

https://www.nytimes.com/2014/11/09/magazine/how-one-lawyers-crusade-could-change-football-f.... 1/3/2018
How One Lawyers, rusade Could Chapge igotball eer Bh 7 he ARS Sub syeBes Page 14 of tf ge 13 of 13

the president’s remarks, he said: “But my guys didn’t know. That’s the whole point.
They didn’t assume this risk.”

When he was a child, Luckasevic said, Sundays in his household were for
“church and football.” His family had a couple of Steelers season tickets at about the
4o-yard line, behind the visitors bench. “They were actually too low, but it was sort

of neat because you were so close to the players.”

His father would always take him or his brother. When it was his turn,
Luckasevic would take his camera, and he has snapshots of some of the men he now
represents. He no longer watches any football. He has lost his taste for the game.

Michael Sokolove is a contributing writer for the magazine. His most recent book,
“Drama High,” has just been published in paperback.

A version of this article appears in print on November 9, 2014, on Page MM42 of the Sunday Magazine
with the headline: Down by Law.

© 2018 The New York Times Company

https://www.nytimes.com/201 4/1 1/09/magazine/how-one-lawyers-crusade-could-change-football-f.... 1/3/2018
